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                                                                                Guatemala, June 27, 2017

                                                                             Office Letter No. 53-2017 AL


     M.Sc. Carlos Guillermo Guerra Jordán
     Judge
     Fourth Court of First Instance Criminal, Drug Trafficking and Crimes against the Environment of the
     Municipality and Department of Guatemala
     Judicial Body

     Respetable M.Sc. Guerra Jordán:

     By this means I am writing to you, in order to respond to the trade/s number signed by your
     person dated in June 13, two thousand and seventeen, which informs that in the resolution of the
     June 7th case of the current year, it was ordered to requested to the Human Rights Procuracy, to
     render a report of the participation in the raids conducted by the Public Ministry, within the case
     identified with the number ZERO ONE THOUSAND AND FOUR DASH TWO THOUSAND AND
     SIXTEEN DASH ZERO ZERO NINE HUNDRED FIFTY ONE (01004 -2016-00951).

     From the foregoing, I refer to you, a simple copy of the report made by Ms. Gloria Patricia Castro
     Gutiérrez, Defender of Children and Adolescents Institution, sent on September 23, two thousand
     and sixteen to the Attorney Rosa Delia Pérez Gudiel Fiscal of Crimes against Children and
     Adolescents of the Public Ministry.

     Without further ado I subscribe to you,

     Sincerely,

                                 Licensed Ana Lucrecia Dollagaray Quintero
                                            Procuracy Director
                                    Departamental Auxiliar of Guatemala
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                                             REF. PROSECUTION FOR CHILDREN AND ADOLESCENTS
                                                                                UEAI 360-2016
                                                                       CAUSE: 01004-2016-00951
                                                                    AGENCY 4 MALTREATMENT


     Guatemala, September 23, 2016


     Licentiate
     Rosa Delia Pérez Gudiel
     Prosecutor of Crimes against Children and Adolescents
     PUBLIC MINISTRY


     Dear Licensed Pérez Gudiel

     In compliance with the request made by the Prosecutor Assistant I, Jorge Carlos Chacón Ayala in office
     letter UEAI 360-2016, CAUSE: 01004-2016-00951, AGENCY 4 ABUSE dated September 8, 2016,
     therefore We are getting the report related to the raid on 7 properties, carried out on September 13, 2016.

         I.     Background:

     By means of the Office Letter UEAI 3602016, dated September 8, 2016, Assistant Prosecutor I, Jorge
     Carlos Chacón Ayala, of the Office of the Prosecutor for Children and Adolescents of the Public
     Ministry, asked the Human Rights Procuracy Institution to appoint personnel to provide accompaniment
     in the raids on 7 properties, expected to be carried out on September 13, two thousand and sixteen. Being
     the meeting point the Gerona Building located at 15 avenue 15-16 zone 1, at 03:00 in the morning.

     To comply with the request of the Public Ministry, staff of the Human Rights Procuracy Institution was
     set up at the headquarters of the Public Prosecutor's Office on September 13, 2016, at 3 o'clock and 10
     o'clock in the morning. There were delegates from the General's Attorney Office (PNG), the National
     Civil Police (PNC), the Specialized Division in Criminal Investigation, the Public Prosecutor's Office and
     some translators.

     Ms. Rosa Delia Pérez Gudiel, Prosecutor for Crimes against Children and Adolescents, informed that
     based on the identified judicial order REF.01004-2016-00951 signed by Analyella Acevedo Estévez,
     Fourth Criminal Trial Court Judge, Drug-dealing and Offenses Against the Environment were being done
     so, the Public Ministry would proceed with the break-in, inspection and registration of 7 buildings
     inhabited by members of the ultra-Orthodox Jewish community, Lev Tahor. The diligence was authorized
     because the Public Prosecutor's Office is investigating a complaint about alleged abuse of children and
     adolescents who are members of that community. He indicated that for the realization of this diligence
     they would form seven groups, of which 5 would be for the capital city and 2 in the department of Santa
     Rosa. They also indicated that one of the properties was a building so it would be leveled floor by floor.

     The following personnel from the institution of the Human Rights Advocate participated: Gabriel
     Eduardo Hernandez Rodríguez, Paola Arana Estrada, Luis Gerardo Baños Ochaeta, Carlos
     Roberto Galich Monzón, Gloria Patricia Castro Gutierrrez, Juan Wiltérico De León López, Dino
     Alfredo Villalta Martinez, Camilo Esteban Aval Sincur, Karen Paola Castillo, Rosa Elena Berger
     Baños, Yuri Mauricio Garcia Granados Delgado, Sender Andres Escobar Rodriguez, they were
     assigned 2 in each team which would cover the raids according to the organization of the Public Ministry.
     The raids began at 6:00 in the morning and the team was made up of Prosecutors from the Public
     Prosecutor's Office, Agents of the Directorate of Criminal Investigations -DICRI-, a Psychologist, a
     Social Worker, a translator, all led by the Public Prosecutor's Office and one or two representatives of the
     Human Rights Ombudsman's Office.

     The properties that were searched, inspected and registered were the following:

     1) 4th Street 4-31 Zone 09 of the Municipality of Guatemala, department of Guatemala.
     2) 4th Street 4-55 Zone 09 of the municipality of Guatemala, department of Guatemala.
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     3) 5th Avenue B 3-63 zone 09 of the municipality of Guatemala, department of Guatemala.
     4) 3rd Street 0-45 zone 09 of the municipality of Guatemala, department of Guatemala.
     5) 4th Street 1-07 zone 09 of the municipality of Guatemala, department of Guatemala.
     6) Land with cellar construction, roof of sheet, located at kilometer 94 Carretera El Salvador, El Amatillo
     village, municipality of Oratorio, department of Santa Rosa.
     7) Domain with metal gate without visibility of some type of construction located at kilometer 94
     Carretera El Salvador, El Amatillo village, municipality of Oratorio, department of Santa Rosa.


         II.    Measures carried out in each of the paved properties:

     Break-in of the property located at 3rd Street 0-45 zone 9 of the capital city:

     On September 13, 2016, the official Gabriel Eduardo Hernandez Rodríguez, delegate of the IPDH,
     accompanied the search of the property located in the 3rd Street 0-45 zone 9 of the capital city,
     informing: A) It was corroborated that the address entered in the court order was the one of the
     property. B) The Public Ministry proceeded to request access to the property, however the
     response was negative, so they were told by the authorities, that they would proceed to break the
     door to enter it, so they immediately attended by Mr. Oscar Adrián Chávez Román, who declared
     that the property was his, allowing the entry to the same for the beginning of the search. C) The
     Public Ministry, with elements of the Specialized Division in Criminal Investigation, determined
     that the property consisted of 27 small apartments, where they request people to leave them and
     fully identify themselves. It was identified that two of the 27 apartments are occupied by people
     who profess the Jewish religion, who were informed the reason for the diligence by the agents that
     afterward, begun with the registration of said apartments.

     In the first apartment they found 4 adults one man and three women, in the same 2 children a man
     and a woman. All from El Salvador. In the second apartment, 2 adults were found, a man and a
     woman both of Salvadoran nationality, as well as two minors, one of the children of Guatemalan
     nationality and the youngest was not enrolled in the National Registry. D) The Office of the General
     Attorney of the Nation, was in charge of verifying the physical conditions of the children found in
     these apartments, establishing that they were in good physical condition with no signs of physical
     abuse. Regarding the 3-month-old child, the General Attorney of the Nation urged the parents and
     every child present to act quickly so that they will soon make the respective registration in the
     National Registry of Persons of the Republic of Guatemala. E) In the present procedure, no evidence
     related to the abuses accused in the investigation was found according to what was observed and
     established by the institutions in charge of the raids, which were concluded at 8:10 A.M.

     Raid to the property located on 4th Street 1-07, zone 9 of Guatemala City with counter
     number G-49800.

     On Monday, September 13, 2016, Officer Paola Arana Estrada and Officer Luis Gerardo Baños Ochaeta,
     delegates from the Human Rights Ombudsman Institution, joined the team. They showed up at 6:00
     o'clock in the morning, to start the workshop checking: a) They checked that the address entered was the
     correct one with the counter number. B) The MP proceeded to knock on the door, after 10 or 15 minutes
     he went to meet a person who said he was the leader of the community and authorized the entry, so the
     group went to the second level of the property where they were located. They found some families, each
     living in a room, in total were 4 men and 7 women, as well as 5 children and 1 girl. C) The staff of the
     Public Ministry, informed the people who were inside the building the reason for their presence and that
     they had to carry out the search, for which they had a court order. In this sense, all the people collaborated
     without problems and handed in their identification documents and passports. The authorities in charge
     proceeded to verify these. The people were of Salvadoran nationality. D) It was observed that the
     institutions acted in accordance with the law, always taking care of the best interests of children and
     adolescents and respecting the human rights of all the occupants of the property. E) The Office of the
     General Attorney of the Nation verified that one of the children did not have an inscription in the National
     Registry of Persons, so the staff made their transfer to the headquarters, together with the parents to begin
     the process of extemporaneous inscription, likewise by the authorities coordinated with the General
     Directorate of Immigration, because one of the women who were in this property was in the country
     illegally.
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     Search of the property located on 4th street, 4-31, zone 9, of this capital city:

     On September 13, 2016, at 6:00 in the morning, the raid was initiated on this property, for which
     the official Carlos Roberto Galich Monzón and Lic. Gloria Patricia Castro Gutierrez were delegated
     by the IPDH, in which it was verified that: A) That the address did not correspond to the property
     that should be registered, for this reason the IPDH exited from the place notifying the Prosecutor of
     the Public Ministry, in charge of the operation, that the search was illegal since it was not the
     address entered in the order of the court B) The Public Ministry initiated the procedure to request
     the extension of the order to the property that is identified as 4th Street 4-37 zone 9 of the
     municipality of Guatemala,
     department of Guatemala to continue with the intervention. At this moment Attorney Salvador Soto is
     presented, who represents the members of the community and Mr. Mynor Antonio Guzmán who
     supported him by mediating and resolving among the members of the community who were scared, upset
     and outraged by the raid and were reluctant to accept the order of the Court. Ms. Roda Delia Pérez
     Gudiel, from the Office of the Prosecutor for Crimes against Children and Adolescents, asked Ms. Gloria
     Castro, who was present during this proceeding, to proceed with clarifying the issue of the address of the
     property and indicating that the extension of the court order was being processed. He also explained to the
     presents again the objective of the search. They agreed in that the PNC would be withdrawn and that it
     only guarded the door so that nobody would leave and people would enter. A person from the community
     supported the lawyer and Mr. Guzmán with the proceedings within the building. In this meeting the
     community members expressed that they were unhappy and very upset about the presence of a translator
     in one of the buildings where the raid was already taking place. He was taking pictures, videos, voice
     messages and assumed that he was sending them to the embassy of Israel. So, the translator left the
     building at approximately 10:00 in the morning. C) Afterward, the raid on the property is resumed at
     12:00 hours, entering the building again, which consists of six levels, observing that in each one of them
     the inspection and identification of the adults and of children and adolescents. This was developed
     properly and in accordance with the law, in some apartments more easily than in others also affected by
     the number of levels and that in each of them had to explain the situation to people and in most of the
     apartments there was different resistance from the habitants to deliver identification documents of adults
     and children and adolescents. However, in all of them the authorities managed to make the respective
     identification. As regards to children and adolescents, it was possible for everyone to be in their
     apartments with their respective families to avoid dispersion since several were receiving their classes and
     performing their prayers according to their religious practices and there was a risk that some would
     remain unidentified and they still needed to verify signs of physical abuse as instructed by the General
     Attorney of the Nation who determined that none of the children and adolescents in this building showed
     signs of physical abuse. It is important to mention that in each apartment it was observed that there were
     families with an approximate of 6 to 8 girls. D) It is also important to note that the building in general did
     not have the conditions to be used as a home, although it is visible that work has been done trying to
     condition it for this purpose. At the entrance of the building there are three large jars that were used to
     deposit solid waste from the various apartments. They were also open, which caused a bad smell, and
     they were a source of contamination. Overcrowding was observed due to the number of people who
     occupied it. There was little ventilation and lighting. E) In general in the raid it was observed by the staff
     of the Public Ministry and the agents of the PNC, and the Attorney General of the Nation that maintained
     good communication with the inhabitants of the property, without the existence of excessive use of force
     or abuse of the faculties of each of the institutions.

     Second raid on the property located on the 4th, Calle 4-55 of zone 9

     Officials Juan Witerico De León López and Dino Alfredo Villalta Martinez were assigned to this building
     as delegates of the Human Rights Ombudsman's Office. At six o'clock they went to the building where
     they found: A) that the building was divided into two housing complexes separated by a wall but with the
     same address. For what they were divided into teams. One headed to the apartments that were on the left
     side. Corroborating that the address coincided with that which was consigned in the judicial order. The
     translator who accompanied was the one who indicated to the people who were inside the apartment that
     it was an operation of the Public Prosecutor's Office and that there was a court order to carry out the
     search and that they needed to show their identification documents. B) Similarly, in each of the
     apartments that they reviewed on that side of the building, they refused to deliver documents, although
     after explaining several times that their refusal could bring other consequences, they finally collaborated.
     In one of the apartments despite the explanations and exhaust the warning times that the authority, there
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     was no positive response so the agents of the National Civil Police proceeded to break a small glass to
     open the door of the building, accomplishing the registration inspection and the identification of the
     people. Then, the Attorney General's Office entered the apartments, proceeding to perform the physical
     examination of the children and adolescents who were in them, indicating that they found no signs of
     physical abuse in any of them.

     In the search conducted on the other side of the same property, the procedure started at 6:00 in the
     morning, and the one who accompanied the IPDH was the official Juan de León, who observed that when
     he reached the main gate of the building and the authorities knocked on the door the people did not
     answer, so PNC proceeded to force the door to enter and then went to the apartments. It was usual
     procedure until Mr. Joel Helhbrants, a 23-year-old Jewish nationality, opened the door window,
     explaining the reason for the presence of the institutions and requested fifteen minutes to communicate
     with the lawyer so that he will be able to support him, however at the end of the fifteen minutes he did not
     open the door so the Attorney Misael Torres, gave the order to the National Civil Police, to use the force
     and proceed to break a small window, where an agent of the PNC, introduced his arm to open the door
     panel and then the authorities entered.

     In this building they found medicine, checks, passports, several beds and cradles in each room, and Joel
     Helhbrants was interviewed. He was asked about some American documents that he had in his
     possession, and he replied that he had thedocuments because he had worked as a supervisor in the United
     States and was trying to start a new job. The rooms were inspected, and Mr. Helhbrants' wife was found
     in one of the rooms. The Public Prosecutor's Office indicated that they found 6 children, of which at the
     beginning they had only submitted documents of two of them, missing the documents of four children,
     and finally they were able to present all the documentation. The social worker of the Procurator General
     of the Nation and the interpreter interviewed the mother and reviewed the children's feet and hands, in
     general her body indicating that they were indeed in good health and concluded the Attorney General's
     Office who did not find physical abuse signs. The Public Ministry and the National Civil Police packed
     the medicines and documents they found for the investigation.

     Then they proceeded to knock on the door of the other apartment, in which they indicated that the
     Rabbi of the community lived, managing to make the necessary inspection and seized medicines.
     Also in one of the departments he contacted Mr. Sender Andres Escobar Rodriguez, delegate of the
     Human Rights Procuracy, the agent of the Specialized Division in Criminal Investigation -DEIC- of
     the National Civil Police, who indicated that Yocheved Fraida girls Malka and Blima Roiza Faige
     Malka, apparently have INTERPOL missing persons alert, so they proceeded to inform the fiscal
     assistant in charge of that apartment so that the authorities, coordinate to verify this situation,
     determining that the girls had no alert; so the fiscal assistant was informed and the passports were
     handed back to the family members.


     Raid to the property located in the 5th Avenue "B" 3-63 of the zone 9 of the capital city

     In this building the official Camilo Esteban Aval Sincur and the official Karen Paola Castillo delegates of
     the Human Rights Ombudsman, were those who accompanied the team. Initiated the raid at 6:00 in the
     morning corroborating in the first instance: A) the counter number to see if it coincided with the address
     entered in the court order and as the property is divided into three, the counters corresponding to each
     property. Mr. Andrés Roberto Palomino Solórzano attended the procedure, who said he was a lawyer and
     notary, who was duly notified of the procedure that was being carried out, giving him a copy of the
     inspection and registration order, allowed the authorities to enter to verify the 3 apartments.

     First apartment

     In this department Mr. Andrés Roberto Palomino Solórzano attended, who said he was a Lawyer and
     Notary, who was duly notified of the diligence that was being practiced, giving him a copy of the
     inspection and registration order, allowed the authorities to enter the building. There were no people in
     this department who belonged to the Jewish community.
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     Second apartment:

     In this house, there were people who were part of the community, however, only women live there, so
     only Mrs. Karen Paola Castillo Vásquez, Auxiliary of the Ombudsman for Children and Adolescents,
     admitted that she located a family consisting of the grandmother, daughter and their two children, and a
     person who supports with whom to make the house that does not belong to the Jewish community. The
     people presented their documentation of both adults and children. The PGN corroborated that the children
     did not show signs of physical abuse. The only finding was a weapon that was not licensed because the
     husband had the document and would take it as soon as possible, a situation that could not be verified.

     In the Third search conducted in the same property:

     The search began at six hours and fifty-three minutes, and the following people were inside the house: a.
     Mirna Elizabeth González Castillo. b. Patricia Esmeralda Castro Mogollón. c. Claudia Fabiola
     Maldonado Díaz (All Guatemalan) d. Marta Silvia Argueta (Salvadoran Citizen, with Polish nationality).
     They were notified and delivered a copy of the inspection order. Taking into consideration that only
     women live inside the building, we were removed from the place by entering female staff to practice
     diligence. However, in this place there was the problem that there were not enough female staff from the
     institutions responsible for the research.

     Trespassing of the property located in Aldea Amatillo, Kilometer 92 of the Municipality of
     Oratorio, Department of Santa Rosa.

     In order to carry out the raid on these properties, Rosa Elena Bergues Baños and Mr. Yuri Mauricio
     García Granados Delgado, from the Human Rights Ombudsman's Office, were delegates, who
     accompanied two groups where the following could be observed:

     It was observed that the address entered in the documents authorized by the Judge for the realization of
     the search was correct. The authorities in charge, made it known to the inhabitants of the building the
     reason for the presence of the representatives of the institutions. They also requested their identification
     documents, who without opposing resistance, four of them put their documents on display with the
     exception of a teenager who did not want to be identified, who were informed that if they did not identify
     the adolescent he would have to accompany them to the PGN headquarters in the capital city. They
     requested a waiting time until the lawyer arrived who presented the identification documents of the
     adolescent at seventeen hours. On the other hand, the Social Worker and Psychologist of the Attorney
     General of the Nation, asked the adolescent to allow them to check part of his body, specifically arms and
     feet, verifying that he did not show signs of physical abuse.

     During the registration it was observed that there is printing machinery in the building, with which they
     indicated that they are making books., In addition, three rooms of the building, where people's furniture
     was found, and among these, a dresser with a key where they keep books related to their religion The
     computer equipment found was packed and confiscated by the Public Ministry. In the second property the
     guardian Edy Osorio attended, who indicated that only he is paid to take care of the animals and the
     property, the authorities presented him the search warrants and allowed the entrance of the authorities and
     proceeded to guide the security forces to the different constructions that make up the property, observing
     an empty and abandoned room house, two empty small rooms, which are used as warehouses, a pool, a
     large winery that functions as a Kosher wine and bread manufacturing center, several pens with ducks
     and sheep, as well as a large construction in progress, which will apparently be the housing center of the
     Lev Tahor community. The Guardian indicated that he has not seen any women or children in this
     building and that those in the community come to supervise the construction and the animals. PDH
     delegate Yuri Garcia was approached by a member of the community who indicated that they were
     victims of political persecution by the State of Israel, which I note.

     III. General observations of the raids:

     1. In general, in the procedures of the various raids, the rights of the people were met by the
     representatives of the different institutions that were present, using force in two departments of a
     building, but at no time was excessive. Due process was respected during the diligence.
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     2. The members of the Jewish community presented a systematic resistance to the raid and constant
     refusal to deliver the documentation required by the authorities, so they had to be constantly repeating the
     reason for the diligence.

     3. Weakness could be observed in the organization of the Public Ministry to practice diligence, which was
     noted at the time of entering the various apartments and there was confusion in the indications and criteria
     for conducting the search and little knowledge of the situation by of the delegates of the Public Ministry.

     4. One of the properties was required to extend the Inspection, Registration and Sequestration Order
     because the address was incorrect, which caused time to be lost and the diligence to be extended, during
     which the people in the building could not mobilize. They had not eaten, so on the part of the PDH they
     proceeded to tell them in the apartments that they could eat and feed the children and adolescents and the
     same was done in the other buildings in which the raids were carried out in a parallel way.

     5. They did not take into account that the children and adolescents in the buildings would be frightened
     and altered when they see all the authorities entering their homes, especially the National Civil Police
     who, because of their function, carried weapons.

     6. None of the children and adolescents who were checked during the procedure showed signs of physical
     abuse according to what was indicated by the General Procuracy of the Nation. They only moved one
     child so that he could be enrolled in the RENAP and in another case they urged the parents to fulfill this
     responsibility as quickly as possible. As well as a woman who was transferred to migration because she
     did not have her documentation.

     7. All persons, both adults and minors, were identified through their identification documents, passports
     and birth certificates. Observing that many of the passports were expired, he asked them to speed up these
     procedures urgently.

     Without another particular, I subscribe to you,



     Licenced Gloria Patricia Castro Gutierrez
     Childhood and Adolesence Advocate
